            Case 4:19-cv-05553-YGR Document 224 Filed 01/13/22 Page 1 of 3



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                                              FLORAGUNN GmbH
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13                           UNITED STATES DISTRICT COURT

14                        NORTHERN DISTRICT OF CALIFORNIA

15                                     OAKLAND DIVISION

16
     ELASTICSEARCH, INC., a Delaware            Case No. 4:19-cv-05553-YGR
17   corporation, and ELASTICSEARCH B.V., a
     Dutch corporation,                         JOINT STATEMENT REGARDING
18                                              COMPLIANCE WITH THE COURT’S
                         Plaintiffs,            STANDING ORDER RE: PRETRIAL
19                                              INSTRUCTIONS IN CIVIL CASES
            v.
20                                              Pretrial Conf: February 11, 2022
     FLORAGUNN GmbH, a German corporation,      Time:          9:00 AM
21                                              Location:      Courtroom 1, 4th Fl.
                         Defendant.
22                                              Trial Date:    February 28, 2022
                                                Time:          8:00 AM
23                                              Location:      Courtroom 1, 4th Fl.

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                     JOINT STATEMENT RE COMPLIANCE WITH STANDING ORDER
                                   Case No. 4:19-cv-05553-YGR
                    Case 4:19-cv-05553-YGR Document 224 Filed 01/13/22 Page 2 of 3



 1            Pursuant to the Court’s December 23, 2019 Case Management and Pretrial Order (Dkt.

 2   31), the Court’s March 23, 2021 Order Granting Stipulation (Dkt. 86), and the Court’s Standing

 3   Order Re: Pretrial Instructions In Civil Cases (“Standing Order”), Plaintiffs Elasticsearch Inc.

 4   and Elasticsearch B.V. (collectively “Elastic”) and Defendant floragunn GmbH (“floragunn”)

 5   respectfully submit this Joint Statement regarding the parties’ compliance with the Standing

 6   Order.

 7            The undersigned counsel confirm that they have reviewed the Standing Order and are in

 8   compliance therewith. On January 10, 2022, lead counsel for the parties met and conferred by

 9   videoconference regarding the requirements of the Standing Order. Counsel discussed, among

10   other things, each of the items required for the joint Pretrial Conference Statement and agreed on

11   drafting responsibilities and a schedule for the exchange of information to allow for timely

12   submission of that joint Pretrial Conference Statement on January 28, 2022. The parties also

13   agreed on a further date and time to meet and confer to enable that timely submission.

14            floragunn notes that Magistrate Judge Kim has set this matter for a further settlement

15   conference at 1 p.m. on January 24, 2022. (Dkts. 222, 223.) floragunn further notes that there are

16   several motions under submission before Magistrate Judge Tse that could have a significant

17   effect on trial, and that there are also three fully briefed Daubert motions pending before the

18   Court. In view of the foregoing, and in view of the uncertain conditions surrounding international

19   travel from Germany at this time, floragunn would welcome a brief conference to discuss

20   whether the interests of judicial economy might favor delaying trial. Elastic opposes delay of the

21   trial.

22            Based on the foregoing, the parties respectfully request that the January 21, 2022

23   compliance hearing be taken off calendar. floragunn in the alternative requests that the Court set

24   this matter for a further status conference to discuss whether trial should be delayed.

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                           JOINT STATEMENT RE COMPLIANCE WITH STANDING ORDER
                                         Case No. 4:19-cv-05553-YGR
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               Case 4:19-cv-05553-YGR Document 224 Filed 01/13/22 Page 3 of 3



 1                                                     Respectfully submitted,

 2   Dated:    January 13, 2022                     O’MELVENY & MYERS LLP
                                                    DAVID R. EBERHART
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 4
                                              By:    /s/ David R. Eberhart
 5                                                  David R. Eberhart

 6                                                  Attorneys for plaintiffs
                                                    ELASTICSEARCH, INC. and
 7                                                  ELASTICSEARCH B.V.

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 9
     Dated:    January 13, 2022                     WUERSCH & GERING LLP
10                                                  V. DAVID RIVKIN
11

12                                            By:    /s/ V. David Rivkin
                                                    V. David Rivkin
13
                                                    Attorneys for defendant
14                                                  FLORAGUNN GmbH
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16
                                               ATTESTATION
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              Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I hereby attest that
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     concurrence in the filing of these documents has been obtained from the other signatory.
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              Dated:     January 13, 2022             /s/ David R. Eberhart
21                                                     David R. Eberhart

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                         JOINT STATEMENT RE COMPLIANCE WITH STANDING ORDER
                                       Case No. 4:19-cv-05553-YGR
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